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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




   Volvo Car Corp.,et al.,

                          Plaintiffs,

                                                              Case No. 1:18-cv-977
                                                              Hon. Liam O'Grady
   The Unincorporated Associations
   Identified in Schedule A,

                          Defendants.


                                             ORDER


       This matter comes before the Court on the Report and Recommendation(R&R)of United

States Magistrate Judge Michael S. Nachmanoff, dated January 17, 2019(Dkt. 77), on Plaintiffs

Motion for Default Judgment(Dkt. 72). Defendant did not object to the R&R. The Court has

reviewed the Complaint, Plaintiffs Memorandum in Support ofthe Motion for Default

Judgment(Dkt. 73), and the supporting documents, and finds good cause to ADOPT the

findings and recommendations of Judge Nachmanoff.

       Accordingly, for the reasons cited by Judge Nachmanoffand for good cause shown.

Plaintiffs Motion for Default Judgment(Dkt. 72) is GRANTED.The Clerk of Court is

instructed to enter Judgment pursuant to Fed. R. Civ. P. 55 in favor of Plaintiffs Volvo Car

Corporation and Volvo Trademark Holding AB,and against the Defendants identified in

Appendix A,in the amount of$2,000,000 plus post-judgment interest at the rate provided by 28

U.S.C. § 1961(a). It is further ORDERED that:

       (1) Defendants are permanently enjoined from making, using, selling, or offering for sale

unauthorized products containing the Volvo Trademarks;
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